                   UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
Name of U.S. District Court:                 District of Alaska

U.S. District Court case number: 3:18-cv-00030-SLG

Date case was first filed in U.S. District Court:                  02/02/2018

Date of judgment or order you are appealing:                       12/10/2018
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  Northern Alaska Environmental Center, Alaska Wilderness League, Defenders
  of Wildlife, The Sierra Club, and The Wilderness Society




Is this a cross-appeal?          Yes           No
If Yes, what is the first appeal case number?

Was there a previous appeal in this case?                      Yes           No
If Yes, what is the prior appeal case number?

Your mailing address:
Trustees for Alaska

1026 W. Fourth Avenue, Suite 201

City: Anchorage                               State: AK               Zip Code: 99501

Prisoner Inmate or A Number (if applicable):

Signature       s/Suzanne Bostrom                                       Date Jan 3, 2019
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Northern Alaska Environmental Center, Alaska Wilderness League, Defenders of
Wildlife, The Sierra Club, and The Wilderness Society

Name(s) of counsel (if any):
Suzanne Bostrom, Brook Brisson, and Valerie Brown



Address: Trustees for Alaska, 1026 W. 4th Ave., Ste. 201, Anchorage, AK 99501
Telephone number(s): 907-433-2015, 907-433-2012, 907-433-2014
Email(s): sbostrom@trustees.org, bbrisson@trustees.org, vbrown@trustees.org
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes   No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
United States Department of the Interior, Bureau of Land Management, Ryan
Zinke, and Brian Steed

Name(s) of counsel (if any):
Michelle-Ann C. Williams



Address: U.S. Department of Justice, P.O. Box 7611, Washington, D.C. 20044
Telephone number(s): 202-305-0420
Email(s): Michelle-Ann.Williams@usdoj.gov


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes   No
Appellees
Name(s) of party/parties:
United States Department of the Interior, Bureau of Land Management, Ryan
Zinke, and Brian Steed
Name(s) of counsel (if any):
Romney S. Philpott


Address: U.S. Department of Justice, 999 18th St., #370, Denver, CO 80202
Telephone number(s): 303-844-1810
Email(s): romney.philpott@usdoj.gov
Name(s) of party/parties:
ConocoPhillips Alaska, Inc.

Name(s) of counsel (if any):
Ryan P. Steen, Jason T. Morgan


Address: 600 University Street, Suite 3600, Seattle WA 98101
Telephone number(s): 206-624-0900
Email(s): ryan.steen@stoel.com, jason.morgan@stoel.com
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

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